      Case 1:18-cv-06779-JO Document 22 Filed 08/06/18 Page 1 of 4 PageID #: 461




 1   Calvin Fan
 2   4564 Pescadero Avenue
 3   San Diego, California 92107
 4   (619) 846-1492
 5   FindMeinkTrustee@gmail.com
 6

 7

 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10

11   TRUSTEE OF THE                                Case No. 3: 18cv0982 JLB (NLS)
12   FIND ME INK TRUST and
13   CALVIN FAN, trustee and individually          Notice of Deposition (30RH1)
14                                   Plaintiffs,   of Richard Hecker
15   v.
16   RICHARD HECKER,                               Demand for Jury Trial
17   TRACTION & SCALE LLC,
18   HECKER CONSULTANCY, LLC,                      Violation of Securities Exchange Act
19   and DOES 1-10,                                of 1934 (unregistered broker,
20                                  Defendants     securities fraud); etc.
21

22

23         To Defendants' counsel: Please take notice that pursuant to FRCP 30(b)(l),
24   the Plaintiffs will take the oral deposition of Richard Hecker before a court reporter
25   by audiovisual means on September 13, 2018, at 9:30 a.m. at One Landmark
26   Square, 5th Floor, Stamford, Connecticut. A copy of a Subpoena to Testify at a
27   Deposition in a Civil Action is attached.
28
     Notice of Deposition (30RH1)                             1                    3:18cv0982
      Case 1:18-cv-06779-JO Document 22 Filed 08/06/18 Page 2 of 4 PageID #: 462




            A $60 check to cover the witness fee and his mileage is being mailed to
 2   Defendants' counsel today at Vasquez Benisek & Lindgren LLP, 3685 Mt Diablo
 3   Blvd, Suite 300, Lafayette, CA 94549.
 4

 5
     Signed on -.L-',
                 ~    r------=l"~--'--~b_,,_ _, 2018
 6

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 8
                                                          Calvin~
                                                          Trustee for the Find Me Ink Trust
 9
     Certificate of Service: I, Calvin Fan, hereby certify that I am serving and providing copies of this
10
     document and the subpoena to Defendants' counsel Eric Benisek via CM/ECF and at
11   ebenisek@vbllaw.com on the date above.

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     Notice of Deposition (30RH1)                                   2                        3:18cv0982
       Case 1:18-cv-06779-JO Document 22 Filed 08/06/18 Page 3 of 4 PageID #: 463

 AO 88A (Rev. 12/ 13) Subpoena to Testify at a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                               for the
                                                            Southern District of California

            Trustee of the Find Me Ink Trust et al.
                                Plaintijj"
                                   v.                                                    Civil Action No.    3 : 18-cv-00982 JLB (NLS)
                       Richard Hecker et al.

                               Defendant

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                          Richard Hecker

                                                         (Name ofperson to whom this subpoena is directed)

       ef Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment:



  Place: One Landmark Square, 5th Floor                                                   Date and Time:
         Stamford, Connecticut
                                                                                                            09/13/2018 9:30 am

            The deposition will be recorded by this method: _ v_id_e_o_c_a_m
                                                                           _er_a_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       0 Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        08/06/2018
                                    CLERK OF COURT
                                                                                            OR

                                             Signature a/Clerk or Deputy Clerk
                                                                                                        ~-
                                                                                                        Auorney 's signature

 The name, address, e-mail address, and telephone number of the attorney representing (nam e ofparty)
 Trustee of the Find Me Ink Trust and Calvin Fan, trustee and individually , who issues or requests this subpoena, are:
Calvin Fan, 4564 Pescadero Ave, San Diego, California, findmeinktrustee@gmail.com, (619) 846-1492

                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, a notice
 and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
 directed. Fed. R. Civ. P. 45(a)(4).
      Case 1:18-cv-06779-JO Document 22 Filed 08/06/18 Page 4 of 4 PageID #: 464

AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 3: 18-cv-00982 JLB (NLS)

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (n ame of individual and title, if any) Richard Hecker
                                                                                     ~~~~~~~~~~~~~~~~~~~-




on (date)         08/06/2018

            t/ I served the subpoena by delivering a copy to the named individual as follows : Eric Benisek, counsel
            for Defendants via CM/ECF, with a copy by mail to Vasquez Benisek & Lindgren LLP
            3685 Mt. Diablo Blvd ., Suite 300, Lafayette, Calif. 95659 on (date)  08/06/2018                      ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $              60.00

My fees are$                                       for travel and $                      for services, for a total of$   0.00


            I declare under penalty of perjury that this information is true.


Date:           08/06/2018
                                                                                           Server 's signature

                                                                                             Calvin Fan
                                                                                         Printed name and title
                                                                                        4564 Pescadero Ave
                                                                                     San Diego, California 92107


                                                                                            Server 's address

Additional information regarding attempted service, etc.:
 A check for the witness and travel fee is being mailed to Mr. Benisek on Monday, August 6, 2018, along with a copy of
 the Subpoena to Testify at a Deposition in a Civil Action
